          Case 3:23-cv-01034-GMM Document 35 Filed 03/29/23 Page 1 of 6



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 OTO ANALYTICS, LLC,                               Civil No. 23-01034 (GMM)

 Plaintiff,

 v.

 BENWORTH CAPITAL PARTNERS PR,
 LLC;    BENWORTH       CAPITAL
 PARTNERS,    LLC;    BERNARDO
 NAVARRO and CLAUDIA NAVARRO,

 Defendants.


MOTION FOR JOINDER TO THE “MOTION TO DISMISS OR STAY PROCEEDINGS
            PENDING OUTCOME OF ARBITRATION” [D.E. 34]


TO THE HONORABLE COURT:

        COMES NOW Defendant Benworth Capital Partners, LLC (“Benworth FL”), by special

appearance and without submitting to the jurisdiction or venue of this Honorable Court nor

waiving any defense, through the undersigned counsel, and very respectfully requests the dismissal

of the Complaint [D.E. 1] substantially for the reasons advanced by co-defendant Benworth Capital

Partners PR LLC (“Benworth PR”) in its “Motion to Dismiss or Stay Proceedings pending the

Outcome of Arbitration” [D.E. 34], and as grounds therefore STATES and PRAYS as follows:

        The Complaint filed by the Plaintiff Oto Analytics, LLC f/k/a Oto Analytics, Inc. d/b/a

Womply (“Womply”) [D.E. 1] stems from an arbitration proceeding initiated by Womply against

Benworth FL in August 2021 (“Arbitration Proceedings”), in which Womply seeks to recover from

Benworth FL millions of dollars in fees that Plaintiff claims are owed to it under their agreements.

        Despite what the Plaintiff would have this court believe, the existence of the debt and the

amount Womply seeks to collect from Benworth FL is in controversy and currently being disputed
           Case 3:23-cv-01034-GMM Document 35 Filed 03/29/23 Page 2 of 6
Motion for Joinder to the “Motion to Dismiss or Stay Proceedings …” [D.E. 34]
OTO Analytics, LLC v. Benworth Capital Partners, LLC; Benworth Capital Partners PR, LLC; et als.
Civil No. 23-01034 (GMM)
Page 2 of 6

in the ongoing Arbitration Proceedings. There is no binding, final, or enforceable arbitration award

against Benworth FL, and this litigation is Womply’s attempt to put the cart before the horse.

         According to Womply, Benworth FL owes it millions of dollars in fees for the services

rendered and technology provided to Benworth FL for the processing, management and tracking

of the federal loans that Benworth FL granted to eligible borrowers under the Paycheck Protection

Program created by Congress under the Coronavirus Aid, Relief, and Economic Security Act

(commonly known as the “CARES Act”), Pub. L. No. 116-136, 134 Stat. 281 (Mar. 27, 2020) in

response to the COVID-19 pandemic. Womply further contends that, to avoid its payment

obligations toward Womply, Benworth FL fraudulently transferred $171 million to Benworth PR,

an entity allegedly created by Defendants Bernardo and Claudia Navarro to facilitate the fraudulent

transfer from Benworth FL to Benworth PR and, consequently, to assist Benworth FL to avoid its

payment obligations.

         Womply, however, omits the fact that Benworth FL has filed a counterclaim in arbitration

that substantially exceeds any claim by Womply and that this counterclaim is pending adjudication

as well. [D.E. ¶¶ 157–64]. Indeed, in its counterclaim, Benworth FL alleges that Womply was an

“agent” under the SBA regulations, which, in turn, limits Womply’s fees to a 1% referral fee. As

a result, Womply has grossly overcalculated the fees it claims Benworth FL owes it by over $150

million, if they are owed at all.1




1
  Should the Court require it to adjudicate this motion, Benworth FL can file the counterclaim in the Arbitration
Proceedings under seal. The Court can consider the counterclaim in its adjudication of Benworth FL’s motion to
dismiss because Womply has incorporated it by reference in Paragraphs 157 through 164 of the Complaint. See Cortes-
Ramos v. Martin-Morales, Case No. 21-1374 (SCC), 2022 WL 3156500, at *1 (D.P.R. Aug. 8, 2022) (“But because
a Rule 12(c) motion implicates the pleadings as a whole, we may supplement these facts with documents fairly
incorporated by the pleadings and facts susceptible to judicial notice. These documents include the ones that the parties
agree are authentic, even those incorporated into the movant’s pleadings; documents central to the plaintiff’s claim;
and documents sufficiently referred to in the complaint.” (cleaned up)).
          Case 3:23-cv-01034-GMM Document 35 Filed 03/29/23 Page 3 of 6
Motion for Joinder to the “Motion to Dismiss or Stay Proceedings …” [D.E. 34]
OTO Analytics, LLC v. Benworth Capital Partners, LLC; Benworth Capital Partners PR, LLC; et als.
Civil No. 23-01034 (GMM)
Page 3 of 6

        Even though Womply’s collection claim and Benworth FL’s counterclaim are currently

being arbitrated in the ongoing Arbitration Proceedings in accordance with the parties’ express

agreement to arbitrate, Womply has brought “this action for an order rescinding the Fraudulent

Transfer and for other purported equitable relief so that Womply can recover the fees and interest

it earned under its contracts with Benworth FL.” [D.E. 1 ¶ 20]. Womply’s claims are without merit

and, more importantly, premature.

        Womply thus asks this Court (i) to rescind the alleged actual fraudulent transfer between

Benworth FL and Benworth PR (“Count I”); (ii) to rescind the alleged constructive fraudulent

transfer between Benworth FL and Benworth PR (“Count II”); (iii) a declaration that Benworth

PR is the alter ego or successor of Benworth FL (“Count III”); and (iv) a declaration to pierce the

corporate veil of Benworth PR and hold the Defendants Bernardo and Claudia Navarro personally

liable for the money allegedly owed to Womply (“Count IV”). These claims are being made

against all defendants without any final determination in the ongoing Arbitration Proceedings

which would entitle Womply to seek the relief requested and which, simply put, means that

Womply wishes for this Court to render an advisory opinion.

        On March 24, 2023, Benworth PR filed a “Motion to Dismiss or Stay Proceedings pending

the Outcome of Arbitration” (“Motion to Dismiss”) [D.E. 34]. In its Motion to Dismiss, Benworth

PR argues that Womply jumped the gun and that its claims in the Complaint lack ripeness, hinge

on the outcome of the Arbitration Proceedings, and that Womply cannot sufficiently allege an

injury or substantial injury without first prevailing in the Arbitration Proceedings. Id. Benworth

PR is correct.

        For the sake of judicial economy and to avoid needlessly duplicating the arguments made

by Benworth PR, Benworth FL hereby incorporates by reference, as if argued herein, all the
           Case 3:23-cv-01034-GMM Document 35 Filed 03/29/23 Page 4 of 6
Motion for Joinder to the “Motion to Dismiss or Stay Proceedings …” [D.E. 34]
OTO Analytics, LLC v. Benworth Capital Partners, LLC; Benworth Capital Partners PR, LLC; et als.
Civil No. 23-01034 (GMM)
Page 4 of 6

arguments, citations, and prayers for relief made by Benworth PR in its Motion to Dismiss [D.E.

34]2. Benworth PR’s arguments in its Motion to Dismiss are readily transferrable to Benworth

FL’s instant motion for the following reasons.

         First, Womply’s claims are not yet ripe for adjudication by this Court. Under Counts I and

II, Womply seeks to rescind the alleged actual and constructive fraudulent transfer made by

Benworth FL to Benworth PR. As Benworth PR correctly stated in its Motion to Dismiss, under

Puerto Rico law, a transaction executed “in fraud of creditors” may be rescinded when a creditor

cannot recover what is due. P.R. Laws Ann. tit. 31, §§ 6231 & 6233. Therefore, to the extent that

the debt allegedly owed by Benworth FL to Womply is pending adjudication in the Arbitration

Proceedings, Counts I and II can only ripen after (and if) Womply obtains a favorable arbitration

award against Benworth FL. Put differently, without an arbitration award in favor of Womply,

there is no debt owed to it by Benworth FL, let alone a debt that Womply has not recovered from

Benworth FL. Relatedly, because an adjudication on the merits of Counts I and II requires a

determination of Benworth FL’s indebtedness to Womply, the parties’ valid arbitration agreement

bars this Court from adjudicating disputes that are subject to arbitration.

         Likewise, Counts III and IV (under which Womply asserts its corporate alter-ego and veil-

piercing claims) are entirely contingent on a favorable outcome for Womply in the Arbitration

Proceedings because this Court would first have to determine that Benworth FL is indebted to

Womply to determine that Benworth PR is liable for Benworth FL’s debt to Womply. Therefore,



2
  Benworth FL only adds that, in a manner consistent with the Civil Justice Reform Act of 1990 that encourages the
“just, speedy and inexpensive resolutions of civil disputes.” 28 U.S.C. §§ 471 et seq., and that empowers the Judicial
Conference of the United States to follow the travel of cases before its Districts, this Court is well within its discretion
to, instead of staying the captioned matter until a final determination is made in arbitration at an uncertain period in
the future, administratively dismiss this case and issue the corresponding judgment pending such outcome subject to
re-opening of the case if the need arises.
          Case 3:23-cv-01034-GMM Document 35 Filed 03/29/23 Page 5 of 6
Motion for Joinder to the “Motion to Dismiss or Stay Proceedings …” [D.E. 34]
OTO Analytics, LLC v. Benworth Capital Partners, LLC; Benworth Capital Partners PR, LLC; et als.
Civil No. 23-01034 (GMM)
Page 5 of 6

Counts III and IV also lack ripeness for adjudication by this Court.

        Second, to the extent that all of Womply’s claims are premised in the determination of

Benworth FL’s indebtedness to Womply, which is pending adjudication in the ongoing Arbitration

Proceedings, Womply cannot sufficiently allege an impending injury or substantial risk of injury

to meet the standing requirements to bring its claims in the captioned Complaint. Thus, if and until

an arbitration award is entered in favor of Womply, all of its four counts in the Complaint are

hypothetical and lack ripeness, and Womply thus lacks standing to bring them.

        Alternatively, as a signatory to the agreement containing the arbitration clause by which

Womply commenced the Arbitration Proceedings, Benworth FL is entitled to request the stay of

the instant proceedings under Section 3 of the Federal Arbitration Act until an award is entered in

the Arbitration Proceedings. See 9 U.S.C. §3. Under the clear mandate of Section 3, where certain

issues before a court are arbitrable, the court must stay the trial until such arbitration has been

completed in accordance with the arbitration agreement. Id. Here, the determination of Benworth

FL’s indebtedness is the central controversy at issue in the ongoing Arbitration Proceedings.

Accordingly, a stay of the instant proceedings will promote judicial economy and avoid potentially

inconsistent determinations.

        Consequently, given that all of Benworth PR’s arguments presented in its Motion to

Dismiss [D.E. 34] are also applicable to Benworth FL’s case, the latter is joining Benworth PR in

moving this Court for a dismissal under Rule 12(b)(1) of the Federal Rules of Civil Procedure and

it is not waiving any of its rights, defenses, arguments, and positions, including its substantial

counterclaim asserted against the Plaintiff in the Arbitration Proceedings.

        WHEREFORE, Benworth FL respectfully requests this Honorable Court to grant this

motion, allow Benworth FL to join Benworth PR’s “Motion to Dismiss or Stay Proceedings
          Case 3:23-cv-01034-GMM Document 35 Filed 03/29/23 Page 6 of 6
Motion for Joinder to the “Motion to Dismiss or Stay Proceedings …” [D.E. 34]
OTO Analytics, LLC v. Benworth Capital Partners, LLC; Benworth Capital Partners PR, LLC; et als.
Civil No. 23-01034 (GMM)
Page 6 of 6

pending the Outcome of Arbitration” [D.E. 34] in its entirety as reproduced herein and,

consequently, dismiss or alternatively stay the Complaint [D.E. 1].

        CERTIFICATE OF SERVICE: We hereby certify that on this same date the foregoing

motion was filed with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all attorneys and participants of record.

        RESPECTFULLY SUBMITTED.

        In San Juan, Puerto Rico, this 29th day of March 2023.

                                                           Counsel for Benworth Capital Partners LLC:




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